

People v Zalevsky (2018 NY Slip Op 06278)





People v Zalevsky


2018 NY Slip Op 06278


Decided on September 26, 2018


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on September 26, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

WILLIAM F. MASTRO, J.P.
SANDRA L. SGROI
SYLVIA O. HINDS-RADIX
COLLEEN D. DUFFY, JJ.


2007-05887
 (Ind. No. 4320/04)

[*1]The People of the State of New York, respondent,
vGregory Zalevsky, appellant.


Gregory Zalevsky, Attica, NY, appellant pro se.
Eric Gonzalez, District Attorney, Brooklyn, NY (Rhea A. Grob of counsel), for respondent.
Paul Skip Laisure, New York, NY (Mark W. Vorkink of counsel), former appellate counsel.



DECISION &amp; ORDER
Application by the appellant for a writ of error coram nobis to vacate, on the ground of ineffective assistance of appellate counsel, a decision and order of this Court dated March 22, 2011 (People v Zalevsky, 82 AD3d 1136), affirming a judgment of the Supreme Court, Kings County, rendered June 18, 2007.
ORDERED that the application is denied.
The appellant has failed to establish that he was denied the effective assistance of appellate counsel (see Jones v Barnes, 463 US 745; People v Stultz, 2 NY3d 277).
MASTRO, J.P., SGROI, HINDS-RADIX and DUFFY, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








